 

CERTIFICATE of PERFORMANCE

THIS ACKNOWLEDGES THAT

 

Leonard Luton

 

HAS OUTSTANDING PERFORMANCE AS A UNIT ORDERLY DURING THE COVID-19 PANDEMIC

His efforts assisted in ensuring a clean, safe, and sanitary environment

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Case 1:19-cr-00098-

 

 

 
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ENGF8 INMATE EDUCATION DATA

PAGE 002 ~  pRANSCRIPT
REGISTER NO: [45133-013) NAME..: LUTON
FORMAT.....: [TRANSCRIPT] RSP OF: ENG-ENGLEWOOD FCI
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SUB-FACL DESCRIPTION START DATE
ENG DCU FDC UNDERSTANDING INVESTMENTS 12-10-2020 01-12-2021
ENG DCU FDC STRATEGIC THINKING SKILLS 12-10-2020 01-12-2021
ENG DCU FDC WWII ACE 12-10-2020 01-12-2021
ENG DCU FDC ACE WWI 12-10-2020 01-12-2021
ENG DCU FDC ANALOGIES 12-10-2020 01-12-2021
ENG DCU FDC ECONOMICS OF UNCERTAINTY 12-10-2020 01-12-2021
ENG DCU FDC ART OF STORYTELLING 02-15-2021 03-18-2021
ENG DCU FDC SECRETS OF MYSTERY FICTION 02-15-2021 03-18-2021
ENG DCU FDC REVOLUTIONS&ENLIGHTENMENTS 02-15-2021 03-18-2021
ENG DCU FDC MONEY MANAGEMENT SKILLS ‘02-15-2021 03-18-2021:
ENG DCU FDC MONEY & BANKING PART II 02-15-2021 03-18-2021
ENG DCU FDC MONEY & BANKING PART I 02-15-2021 03-18-2021
ENG DCU FDC MIDDLE AGES & RENAISSANCE 02-15-2021 03-18-2021
ENG DCU FDC FIRST CIVILIZATIONS 02-15-2021 03-18-2021
G0002 MORE PAGES TO FOLLOW .

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Page 2 of 7

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FDC FINANCIAL LITERACY 02-15-2021
FDC TURNING PTS IN AM HIS II 01-12-2021
FDC TURNING PTS IN AMHIS I 01-12-2021
FDC BRAIN MYTHS EXPLODED 01-12-2021
FDC ECONOMIC CRASHES & CRISES 01-12-2021
FDC EX OFFENDER JOB HUNTING 01-12-2021
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REGISTER NO: [45133-013]

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TRANSCRIPT
NAME..: LUTON
RSP OF: ENG-ENGLEWOOD FCI

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FACL ASSIGNMENT DESCRIPTION

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FDC IMPERIALISM&WRLD CONFLICTS
FDC PHENOMENA

FDC CREATIVE THINKERS’ TOOLKIT
FDC RE-ENTRY PT 3.

FDC RE-ENTRY PT 2

FDC RE-ENTRY PT 1 |

FDC PRACTICING MINDFULNESS

FDC SCIENCE OF RAISING KIDS II
FDC SCIENCE OF RAISING KIDS

MORE PAGES TO FOLLOW .

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EDUCATION COURSES

EDUCATION INFORMATION
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Ee U.S. Department of Justice

  

Federal Bureau of Prisons

Federal Correctional Institution
Office of the Warden FCI Englewood, CO 80123

September 21, 2020

MEMORANDUM FOR ALL CONCE D
FROM: 1€S; ectional Officer-Counselor

SUBJECT: Luton, Leonard Reg. Num. 45133-013

During the COVID 19 pandemic operations at FDC Englewood, Inmate Luton, Leonard Reg.
Num. 45133-013 has been utilized, at his request, to assist staff in cleaning and sanitizing the
unit. This has assisted the institution in maintaining a lower than other institutions positivity rate.
Additionally, this has also assisted the institution in maintaining a positivity rate lower than
general public number.

Inmate Luton has taken this responsibility, understanding the potential life threatening virus and
still assisting in providing a safer environment for other inmates and staff.
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REG NO..: |45133-013

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FUNCTION:

ASSIGNMENT DESCRIPTION
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INMATE HISTORY * 05-21-2021
PT OTHER * 08:09:38

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